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                 Appellate Division of the Supreme Court
                      of the State of New York
                      First Judicial Department

            I, Susanna Rojas, Clerk of the Appellate Division of
the Supreme Court of the State of New York, First Judicial
Department, certify that

            Joshua Benjamin Picker
was duly licensed and admitted to practice as an Attorney and
Counsellor at Law in all the courts of the State of New York on
May 20, 2013, has duly taken and subscribed the oath of office
prescribed by law, has been enrolled in the Roll of Attorneys and
Counsellors at Law on file in my office, has duly registered with the
administrative office of the courts, and according to the records of
this court is in good standing as an attorney and counsellor at law.


                        In Witness Thereof, I have hereunto set my
                          hand and affixed the seal of this court on
                                      July 13, 2020




                                          Clerk of the Court
4936
